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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

CliniComp International, Inc.

                        Plaintiff,
                                                   CIVIL ACTION NO. 1:18-CV-00425
v.

Athenahealth, Inc.                                 JURY TRIAL DEMANDED

                        Defendant.



               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

     Plaintiff CliniComp International, Inc. (“CliniComp”) hereby submits its Complaint against

Defendant Athenahealth, Inc. (“Athenahealth”) and alleges as follows:

                                     NATURE OF THE ACTION

       1.      This is a civil action for infringement under the patent laws of the United States,

35 U.S.C. § 1 et seq.

       2.      The United States Patent and Trademark Office duly and legally issued U.S.

Patent No. 6,665,647 (the “’647 patent”), entitled “Enterprise Healthcare Management System

and Method of Using Same,” on December 16, 2003. CliniComp is the legal owner of the ’647

patent by assignment. A true and correct copy of the ’647 patent is attached hereto as Exhibit A.
       3.      Athenahealth has infringed and continues to infringe one or more claims of the

’647 patent. CliniComp seeks, among other things, monetary damages.

                                         THE PARTIES

       4.      Plaintiff CliniComp is a corporation organized and existing under the laws of the

State of Delaware with its principal place of business at 9655 Towne Centre Drive, San Diego,

CA 92121.




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       5.      Upon information and belief, Defendant Athenahealth is a corporation organized

and existing under the laws of the State of Delaware with its principal place of business at 311

Arsenal Street, Watertown, MA 02472. Defendant Athenahealth also maintains a place of

business at 800 W. Cesar Chavez Street, Austin, TX 78701.

                                 JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over CliniComp’s claims for patent

infringement pursuant to the 28 U.S.C. §§ 1331 and 1338(a).

       7.      Upon information and belief, this Court has personal jurisdiction over

Athenahealth in this action because Athenahealth has committed acts within this District giving

rise to this action and has established minimum contacts with this forum such that the exercise of

jurisdiction over Athenahealth would not offend traditional notions of fair play and substantial

justice. Athenahealth has committed acts of patent infringement and has regularly and

systematically conducted and solicited business in this District by and through at least its sales

and offers for sale of Athenahealth products and/or services in this District and, on information

and belief, leases or owns office space in this District.

       8.      Venue is proper in this District under 28 U.S.C. §§ 1391(b) and 1400(b) at least

because Athenahealth has committed acts of infringement in this District and has a regular and

established place of business in this District. On information and belief, Athenahealth employs

many people in this District, including at least at its offices at 800 W. Cesar Chavez Street in

Austin, TX.

                                   FACTUAL ALLEGATIONS

       A.      CliniComp

       9.      CliniComp is a privately-held, San Diego-based company that develops

Electronic Health Record (EHR) and other information technology (IT) solutions for hospitals,

integrated delivery networks, academic medical centers, and other acute care providers in the

United States and abroad. CliniComp pioneered the integration of computer-based clinical



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documentation and medical devices almost three decades ago. Today, the CliniComp EHR

system is deployed in leading private, military, and veterans health care facilities, including in 56

Military Treatment Facilities and more than 40 VA health care facilities, supporting safer and

more efficient patient care.

       B.      CliniComp Technology

       10.     Healthcare enterprises, which can include, for example, “hospitals, clinics,

physician groups, or even Health Maintenance Organizations (HMOs)” can be very large

organizations consisting of many different facilities and supporting hundreds of doctors and

many point of care facilities, or can be more modest insize [sic].” ’647 patent at 1:31-35. These

enterprises are under pressure to operate efficiently while maintaining and improving the quality

of patient care, which requires access to accurate and complete information regarding the various

functions of the enterprise. To manage such information, healthcare enterprises often rely on an

IT infrastructure of networked computers and applications that provide, for example, clinical

information for day-to-day patient management, financial and administrative applications,

pharmacy management as well as EHR management.

       11.     Historically, healthcare enterprises operated their own IT infrastructure. As the

needs of the enterprise increased, these systems would be expanded to include the applications

and computer resources necessary to meet the growing needs of the enterprise. This IT

infrastructure was expensive to build and expensive to maintain but even more expensive to

upgrade. As technology advanced and the healthcare enterprise faced pressure to improve the

capabilities of its system, the healthcare enterprise would face the dilemma of needing to

upgrade its systems in order to remain viable and competitive but not having the significant

resources needed to do so. A major upgrade to an IT infrastructure required both a financial

investment as well as a significant investment of time and human resources. Advanced planning,

a lengthy approval cycle, and rigorous testing requirements all add to the expense and the risk of

a major IT infrastructure upgrade. An enterprise unable or unwilling to endure such a process



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will forgo the upgrade at the risk of falling further behind in its ability to provide healthcare

services at expected and competitive levels.

       12.     In 1999, Chris Haudenschild, the named inventor of the ’647 patent and sole

founder of CliniComp, recognized the challenge facing healthcare enterprises and conceived of a

system that would take advantage of the emerging power of the Internet to solve the IT

infrastructure dilemma. Rather than have each healthcare enterprise host its own IT

infrastructure and be saddled with the burden of maintaining and upgrading that infrastructure,

Haudenschild envisioned a system where the primary components of the IT infrastructure, such

as application servers and databases, would be hosted remote from the healthcare enterprise in a

manner that would allow at least some of these resources to be shared by different healthcare

enterprises. In this way, a healthcare enterprise could avoid the capital investment necessary to

acquire and maintain its own IT infrastructure and also benefit from the ability to upgrade

existing capabilities and even add new functionality without the cost and risk associated with

doing the same for an in-house system.

       13.     Haudenschild, however, needed to consider other factors that would be important

to any healthcare enterprise upgrading to a remotely hosted system. In the transition from an in-

house to a remotely hosted IT infrastructure a healthcare enterprise would need to ensure that it

maintained access to its legacy data and, possibly even certain legacy systems. For example,

while it may make sense to remotely host billing and pharmacy applications, it might also make

sense for the enterprise to maintain its legacy clinical care system in house. The remote system,

therefore, must be capable of also storing data from the legacy system and making that data

available to system-wide queries. The data must also, however, be protected. One advantage of

the remotely hosted IT infrastructure is the ability of multiple healthcare enterprises to share

resources, but this does not mean sharing data. To protect the integrity of each individual

healthcare enterprise and the privacy of its employees and patients, data from one healthcare

enterprises must not be accessible by another healthcare enterprise.




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       C.      Athenahealth

       14.     Athenahealth is a healthcare information technology company providing

healthcare related IT services that support the clinical, financial and operational needs of

organizations of all sizes. Many of Athenahealth’s solutions are offered on Athenahealth’s

athenaOne platform, which is an integrated suite of cloud-based services, combining practice

management (athenaCollector), an electronic health record (EHR) system (athenaClinicals), and

care coordination (athenaCommunicator) into a single packaged offering. Together, the

athenaOne services provide a single instance of software that is accessible from anywhere and

delivers real-time visibility into the enterprise’s clinical and financial operations.

                                  FIRST CAUSE OF ACTION
                              Infringement of Patent No. 6,665,647

       15.     CliniComp incorporates the foregoing paragraphs as though fully set forth herein.

       16.     Athenahealth has directly infringed, and continues to directly infringe, one or

more claims of the ’647 patent, including but not limited to claim 1, pursuant to 35 U.S.C. § 271,

by making, using, selling, and/or offering to sell within the United States, without authority, its

AthenaOne suite of cloud-based services and/or components thereof (“Accused Services”).

       17.     As just one non-limiting example, set forth below (with claim language in italics)

is a description of the infringement of exemplary claim 1 of the ’647 patent in connection with

the Accused Services. CliniComp reserves the right to modify this description, including, for

example, on the basis of information about the Accused Services that it obtains during discovery:

       1. A method of operating an enterprise healthcare management system for a first

healthcare enterprise facility and a second healthcare enterprise facility independent of the first

healthcare enterprise facility, comprising: To the extent the preamble is limiting, through its

Accused Services, Athenahealth operates an enterprise healthcare management system for two or

more independent healthcare enterprise facilities.

       [1a] establishing a first secure communication channel via a public network between an

application server and a first end user device in the first enterprise facility and establishing a



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second secure communication channel via the public network between the application server and

a second end user device in the second enterprise facility, the application server remotely

hosting a healthcare application and having a database; On information and belief, as part of

providing the Accused Services, Athenahealth uses the Internet to establish secure

communication channels between user devices at client healthcare enterprise facilities and

remotely hosted application servers, which host both a healthcare application and a database.

See e.g., https://www.athenahealth.com/practice/athenacollector/medical-billing.

       [1b] receiving first healthcare data from the first end user and second healthcare data

from the second end user; On information and belief, the remotely hosted application servers

receive healthcare data from end users, e.g., employees at the supported enterprise healthcare

facilities utilizing the remotely hosted applications.

       [1c] processing the first healthcare data and the second healthcare data with the

healthcare application; On information and belief, the remotely hosted application servers host

at least one healthcare application that processes healthcare data provided by end users. See e.g.,

https://www.athenahealth.com/practice/athenacollector/medical-billing.
       [1d] storing the processed first healthcare data in a first portion of the database

associated with the first healthcare enterprise facility and storing the processed second

healthcare data in a second portion of the database associated with the second healthcare

enterprise facility; Athenahealth’s Accused Services collect data from multiple healthcare

enterprise facilities. On information and belief, to comply with patient privacy and other

requirements, data from different healthcare enterprise facilities must be stored in different

portions of the database.

       [1e] configuring the database to accept legacy information derived from a legacy

application operating at each of the first and second healthcare enterprise facilities, wherein the

functions in the healthcare application are not duplicative of the legacy application; and On

information and belief, when providing the Accused Services, Athenahealth configures remotely

hosted databases to accept legacy information from one or more legacy applications operating at


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the connected healthcare enterprise facilities. The functions of the remotely hosted applications

are not duplicative of the one or more legacy applications that generated the legacy information.

       [1f] generating a query to extract information from the database relevant to a respective

one of the first and second healthcare enterprise facilities derived from the healthcare data and

the legacy information for managing and tracking a performance of the respective one of the

first and second healthcare enterprise facilities, On information and belief, Athenahealth’s

remotely hosted system will, in response to a user request, generate a query in order to extract

information from the relevant portion of the database, i.e., that portion containing data for the

enterprise healthcare facility with which the user is associated, that can be used to manage and

track performance of the relevant enterprise healthcare facility. The relevant portion of the

database will include data derived from the remote healthcare applications as well as the legacy

information.

       [1g] wherein healthcare data in the first portion of the database is only accessible to the

first end user device and healthcare data in the second portion of the database is only accessible

to the second end user device. On information and belief, to comply with patient privacy and

other requirements, an enterprise healthcare facility will only have access to its data from its

portion of the database.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff CliniComp respectfully requests the following relief:

       A.         Judgment in CliniComp’s favor and against Athenahealth on all causes of action

alleged herein;

       B.         An award of damages to CliniComp in an amount to be further proven at trial;

       C.         An award of prejudgment and post-judgment interest, costs and other expenses;

and

       D.         Such other and further relief as the Court may deem to be just and proper.




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